             Case 6:21-cv-00070 Document 1 Filed 01/25/21 Page 1 of 10




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

WEBBER, LLC,                                     §
                                                 §
     Plaintiff,                                  §
                                                 §
v.                                               §   CIVIL ACTION NO. 6:21-cv-00070
                                                 §
MOUNT VERNON FIRE INSURANCE                      §
COMPANY,                                         §
                                                 §
     Defendant                                   §
                                                 §

                         PLAINTIFF WEBBER, LLC’S ORIGINAL
                       COMPLAINT FOR DECLARATORY JUDGMENT

       Plaintiff Webber, LLC (“Webber”) files this Original Complaint and for Declaratory

Relief, and, in support thereof would respectfully show as follows:

                                               I.
                                            PARTIES

       1.         Plaintiff Webber, LLC is a Texas Limited Liability Company with its principal

office located in Montgomery County, Texas.

       2.         Defendant Mount Vernon Fire Insurance Company (“Defendant” or “Mount

Vernon”) is a Pennsylvania Insurance Business Corporation with its principal place of business

located at 190 South Warner Road, Wayne, Pennsylvania 19087. Mount Vernon is engaging in

the business of insurance in Texas and may be served with citation by and through the Texas

Commissioner of Insurance.

                                               II.
                                        VENUE AND JURISDICTION




PLAINTIFF WEBBER LLC’S ORIGINAL COMPLAINT                                                     1
FOR DECLARATORY JUDGMENT
             Case 6:21-cv-00070 Document 1 Filed 01/25/21 Page 2 of 10




        3.      This Court has jurisdiction over this action under 28 U.S.C. §§ 2201 and 2202

insofar as Webber now seeks a declaration of its rights and obligations under the insurance

policy at issue. Pursuant to 28 U.S.C. § 1332, complete diversity exists between the parties, and

the amount in controversy exceeds $75,000, exclusive of interests and costs.

        4.        Venue is proper in this District and Division under 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to the claim occurred in this

District.

                                         III.
                                   BACKGROUND FACTS

        5.    Mark James filed a lawsuit against Webber and Kay Savage Trucking (“Kay

Savage”) for injuries he claims that he sustained in a June 8, 2017 accident. James’ lawsuit

against Webber and Kay Savage is styled Mark C. James v. Webber LLC and Kay Savage

Trucking, Inc. in cause number 2019-1847-5 in the 414th District Court of McLennan County,

Texas (the “Underlying Lawsuit”). The Underlying Lawsuit alleges causes of action of

negligence and premises liability. James subsequently non-suited his claims against Kay Savage.

        6.    In the Underlying Lawsuit James alleges, in pertinent part, the following:

              On or about June 8, 2017, Plaintiff [James] arrived at the destination of
              Defendant Webber for a scheduled load pick up. The Bellmead yard of
              Defendant Webber is located off of State Highway West...Bellmead,
              McLennan County, Texas. Plaintiff arrived at the Webber location to pick
              up a concrete road barrier which measures approximately 30 feet in length
              to drop off at a construction site. At the time of the incident there was one
              flagger, Ivan Barrientos, on Plaintiff’s trailer and a crane operator, Ray
              Galvan. As the load was being placed on the flatbed of the trailer to
              Plaintiff’s vehicle, Plaintiff realized that Ray Galvan, under the employ of
              Defendant Webber, improperly placed the road barrier on the trailer
              flatbed to the extent the rear of the concrete road barrier was protruding or
              hanging out of the left of the trailer. Plaintiff immediately alerted Ivan
              Barrientos that the concrete road barrier was not positioned safely for
              transport and needed to be centered on the flatbed. Prior to Ray Galvan

PLAINTIFF WEBBER LLC’S ORIGINAL COMPLAINT                                                      2
FOR DECLARATORY JUDGMENT
               Case 6:21-cv-00070 Document 1 Filed 01/25/21 Page 3 of 10




                lifting the barrier again for readjustment, Plaintiff explained to Ivan
                Barrientos that the steel braided cable was not placed securely for a proper
                adjustment of the concrete road barrier and that it would cause damage if
                not adjusted. Plaintiff expressed that he would secure the steel braided
                cable before lifting since there was only one flagger helping with securing
                the load. Ivan Barrientos told Ray Galvan to hold on and not lift the
                crane, but as a result of the being inattentive, and not keeping a proper
                lookout, Ray Galvan continued to lift the concrete road barrier while
                Plaintiff was adjusting the cable, and Ivan Barrientos failed to alert Ray
                Galvan to stop which resulted in Plaintiff’s thumb gettering stuck in the
                cable....

       7.       Plaintiff alleges that as a result of the accident that he sustained serious and

permanent injuries and seeks in excess of $1,000,000 in damages.

       8.       In the Underlying Lawsuit Webber filed a general denial, denying all of Plaintiff’s

allegations.

       9.       In the Underlying Lawsuit Webber has filed cross claims for contribution and

indemnity against Kay Savage and Marwan Trucking.

       10.      Plaintiff Webber had a contract with Kay Savage whereby Kay Savage agreed to

provide trucking services including providing all labor, supplies, equipment, permits, fees,

services, facilities, supervision and administration necessary to complete the work.

       11.      Kay Savage subcontracted with James’ employer Marwan Trucking, Inc. to

execute the work it contracted with Webber to complete.

       12.       One of the contractual obligations of Kay Savage was to maintain insurance for

general liability for injury and such insurance was required to include Webber, LLC as an

additional insured.

       13.      Kay Savage maintained a Commercial Liability insurance policy with Mount

Vernon. The Mount Vernon policy, Policy No. CL 2634740D (the “Policy”), issued to Kay

Savage had a policy period of December 31, 2016 to December 31, 2017.



PLAINTIFF WEBBER LLC’S ORIGINAL COMPLAINT                                                        3
FOR DECLARATORY JUDGMENT
                Case 6:21-cv-00070 Document 1 Filed 01/25/21 Page 4 of 10




        14.        As a result of the filing of the Underlying Lawsuit, Plaintiff Webber was required

to hire counsel, to incur attorney’s fees and litigation expenses in defending the Underlying

Lawsuit. In a letter dated July 3, 2019, Plaintiff Webber made a demand upon Mount Vernon

Fire Insurance Company (“Mount Vernon”) for a defense and indemnity for the claims asserted

in the Underlying Lawsuit and for any other rights and benefits afforded to Webber as an

“additional insured” under the Policy, a policy of insurance issued by Mount Vernon to Kay

Savage Trucking, Inc.

        15.        In a letter dated July 23, 2019, Mount Vernon wrongfully failed to provide the

rights and benefits, including providing a defense with qualified counsel, that should have been

available to Webber as an “additional insured.” As a result, Webber incurred expenses as

outlined above and additionally has incurred and is continuing to incur attorney’s fees and

expenses related to Webber’s attempts to secure a defense and indemnity from Mount Vernon

during the pendency of the Underlying Lawsuit, and attorney’s fees, litigation expenses and costs

in this lawsuit.

                                              IV.
                               CLAIM FOR DECLARATORY JUDGMENT

        16.        Plaintiff Webber incorporates paragraphs 1-15 herein by reference as if fully set

forth herein.

        17.        Plaintiff Webber files this claim for declaratory judgment against Mount Vernon

Fire Insurance Company. Plaintiff seeks a declaratory judgment to determine a justiciable

controversy and to declare the right of the parties pursuant to 28 U.S.C. §§2201 and 2202.

        18.        Plaintiff Webber seeks a declaratory judgment that Webber is an additional

insured, and is entitled to a defense and indemnity under the Commercial General Liability

Policy issued by Mount Vernon to Kay Savage, and identified as Policy No. CL 2634740D, with


PLAINTIFF WEBBER LLC’S ORIGINAL COMPLAINT                                                          4
FOR DECLARATORY JUDGMENT
                Case 6:21-cv-00070 Document 1 Filed 01/25/21 Page 5 of 10




effective dates of December 31, 2016 through December 31, 2017 (hereinafter the “Policy”).

Plaintiff Webber seeks declarations that:

                 a.     Plaintiff Webber is an insured, additional insured, and/or is entitled to a
                        defense under the Policy;

                 b.     Mount Vernon owes a duty to defend Webber in the Underlying Lawsuit;
                        and

                 c.     Mount Vernon owes a duty to indemnify and reimburse Webber for all
                        costs, judgments, settlements, etc. incurred by or against Webber as a
                        result of the claims being pursued in the Underlying Lawsuit.

                                                     V.

                                       BREACH OF CONTRACT

          19.    Plaintiff Webber incorporates paragraphs 1-15 herein by reference as if fully set

forth herein.

          20.    Under the terms of the Policy, Plaintiff Webber is an additional insured.

          21.    Under the terms of the Policy, Mount Vernon contracted to defend Kay Savage

and Plaintiff Webber for the losses alleged in the Underlying Lawsuit.

          22.    Plaintiff Webber properly and timely submitted a claim for the above-referenced

losses.    All conditions precedent to Plaintiff Webber’s recovery have been performed and

satisfied or have occurred.

          23.    Defendant Mount Vernon when confronted with Plaintiff Webber’s request for a

defense and indemnity, wrongfully denied Webber’s claim and failed to timely provide a defense

to Webber in the Underlying Action.

          24.    Defendant Mount Vernon’s failure to provide a defense and accept Webber’s

claim constitutes a breach of contract.




PLAINTIFF WEBBER LLC’S ORIGINAL COMPLAINT                                                        5
FOR DECLARATORY JUDGMENT
                Case 6:21-cv-00070 Document 1 Filed 01/25/21 Page 6 of 10




       25.       Mount Vernon’s breach of its contract has been a proximate and producing cause

of actual damages to Webber, for which Webber seeks recovery. Such damages include all

reasonable and necessary attorney’s fees and costs of ligation incurred by Webber in defending

the Underlying Lawsuit and all reasonable and necessary attorney’s fees, litigation expenses and

costs incurred by Webber in this suit.

                                                    VI.

       BREACH OF THE COVENANT OF GOOD FAITH AND FAIR DEALING

       26.       Plaintiff Webber incorporates paragraphs 1-15 herein by reference as if fully set

forth herein.

       27.       As an insured, additional insured, and/or indemnitee under the Policy, Webber

was and is owed the duty of good faith and fair dealing by Mount Vernon.

       28.       Pursuant to the terms of the Policy, Mount Vernon is required to pay Webber’s

defense costs incurred in responding to the Underlying Lawsuit and indemnify Webber for any

and all costs, judgments, settlements, etc. incurred by or against Webber as a result of the claims

being pursued in the Underlying Lawsuit.

       29.       Mount Vernon has breached the duty of good faith and fair dealing by

unreasonably denying, withholding, and refusing to tender a defense and payment of defense

costs as required by the Policy.

       30.       Mount Vernon has breached the duty of good faith and fair dealing by

unreasonably denying, withholding, and refusing to indemnify Webber for any and all costs,

judgments, and settlements Webber may incur as a result of the claims being pursued in the

Underlying Lawsuit.




PLAINTIFF WEBBER LLC’S ORIGINAL COMPLAINT                                                        6
FOR DECLARATORY JUDGMENT
             Case 6:21-cv-00070 Document 1 Filed 01/25/21 Page 7 of 10




       31.     There is no reasonable basis for Mount Vernon’s refusal to provide a defense or

indemnity to Webber in the Underlying Lawsuit.

       32.     Mount Vernon has intentionally misrepresented the coverage afforded by the

Additional Insured Endorsement.       Additionally, by writing a policy, which as applied and

interpreted by Mount Vernon provides “illusory coverage” and/or no coverage for its “additional

insured”, particularly regarding the provision of a defense, Mount Vernon has violated its duty of

good faith and fair dealing, has misrepresented coverage, and is in breach of contract.

       33.     Mount Vernon has failed to effectuate a prompt, fair, and equitable settlement of

such claims when the insurers’ liability has become reasonably clear. Mount Vernon has no

reasonable basis for its continuing refusal and denial of Webber’s claims.

       34.     Mount Vernon’s breach of the duty of good faith and fair dealing has been a

proximate and producing cause of actual damages to Webber, for which Webber seeks recovery.

Such damages include all reasonable and necessary attorney’s fees, litigation expenses and costs

incurred by Webber in defending the Underlying Lawsuit, and all attorney’s fees, litigation

expenses and costs incurred in this suit.

                                   VII.
        TEXAS INSRUANCE CODE & UNFAIR OR DECEPTIVE TRADE PRACTICES

       35.     Plaintiff Webber incorporates paragraphs 1-15 herein by reference.

       36.     Mount Vernon is a person as defined by Texas Insurance Code §541.002(2)

       37.      Mount Vernon misrepresented the terms and/or benefits of the Policy and

provided illusory coverage in violation of the Texas Insurance Code Chapter 541.

       38.     Mount Vernon has engaged in unfair and/or deceptive insurance practices that

violate Chapter 541 of the Texas Insurance Code, and these acts have caused actual damages to




PLAINTIFF WEBBER LLC’S ORIGINAL COMPLAINT                                                       7
FOR DECLARATORY JUDGMENT
             Case 6:21-cv-00070 Document 1 Filed 01/25/21 Page 8 of 10




Webber in an amount to be proven at trial. Specifically, Mount Vernon’s violations include, but

are not limited to:

               a.      A violation of Tex Ins. Code § 541.051(1), which provides that it is an
                       unfair method of competition or unfair or deceptive actor or practice in the
                       business of insurance to make a statement misrepresenting the terms of the
                       policy or the benefits and advantages promised by the policy.

               b.      A violation of Tex. Ins. Code § 541.060(a)(2)(A), which provides that
                       “failing to attempt in good faith to effectuate a prompt, fair, and equitable
                       settlement of .... a claim with respect to which the insurer’s liability has
                       become reasonably clear...” is an unfair or deceptive act or practice.

               c.      A violation of Tex. Ins. Code §541.060 (a)(3) which provides that “failing
                       to promptly provide to a policyholder a reasonable explanation of the basis
                       in the policy, in relation to the facts or applicable law, for the insurer’s
                       denial of a claim or offer of a compromise settlement of a claim” is an
                       unfair or deceptive act or practice.

               d.      A violation of Tex. Ins. Code § 542.058, which provides that an insurer
                       who delays payment of the claim for a period exceeding the period
                       specified by other applicable statutes or, if other statutes do not specify a
                       period, for more than 60 days, shall pay damages and other items as
                       provided by section 542.060.

       39.     In the alternative, and only to the extent the Court finds no coverage under the

Policy, Webber has a cause of action under the Texas Insurance Code including for unfair and/or

deceptive insurance practices, to the extent that Mount Vernon misrepresented material policy

provisions in the Policy, including misrepresenting the scope and/or existence of coverage under

the Policy at issue.

       40.     Mount Vernon engaged in unconscionable conduct by selling insurance policies

with illusory coverage.

       41.     Mount Vernon’s misrepresentations are a proximate and producing cause of

actual damages to Webber, for which Webber seeks recovery.             Such damages include all

reasonable and necessary attorney’s fees and costs of ligation incurred by Webber in defending



PLAINTIFF WEBBER LLC’S ORIGINAL COMPLAINT                                                         8
FOR DECLARATORY JUDGMENT
               Case 6:21-cv-00070 Document 1 Filed 01/25/21 Page 9 of 10




the Underlying Lawsuit and any and all judgements, costs, and/or settlement Webber may incur

in the Underlying Lawsuit.

         42.    Pursuant to Tex. Ins. Code §542.060, Webber seeks actual damages caused by

Defendant’s violations, including but not limited to the amount of the claim (attorney’s fees,

expenses and costs in defending the Lawsuit and any appeals), interest on the amount of the

claim at the rate of 18 percent a year as damages, together with Webber’s reasonable and

necessary attorney’s fees in bringing this action, court costs and any other relief that this Court

determines is proper.

         43.    Pursuant to Tex. Ins. Code §541.152, because the Defendant knowingly

committed the acts set forth above, Webber seeks an award for three times the amount of its

actual damages.

                                          VIII.
                                REQUEST FOR A JURY TRIAL

         Plaintiff Webber, LLC requests a jury trial on all issues to which they are entitled to by
law.

                                            IX.
                                     PRAYER FOR RELIEF

         WHEREFORE, PREMISES CONSIDERED, Plaintiff Webber, LLC respectfully prays

that judgment be entered against Defendant Mount Vernon Fire Insurance Company and that the

Court:

         1.     Enter a declaration and judgment that:

                a.      Plaintiff Webber is an insured, additional insured, and/or is entitled to a
                        defense and indemnity under the Policy;

                b.      Mount Vernon owes a duty to defend Webber in the Underlying Lawsuit;
                        and,



PLAINTIFF WEBBER LLC’S ORIGINAL COMPLAINT                                                        9
FOR DECLARATORY JUDGMENT
            Case 6:21-cv-00070 Document 1 Filed 01/25/21 Page 10 of 10




               c.     Mount Vernon owes a duty to reimburse Webber for all defense costs,
                      including attorney’s fees, litigation expenses and costs, incurred or which
                      may be incurred in the Underlying Lawsuit;

               d.     Mount Vernon owes a duty to indemnify and reimburse Webber for all
                      costs, judgments, settlements, etc. incurred by or against Webber as a
                      result of the claims being pursued in the Underlying Lawsuit.
       3.      Render judgment that Mount Vernon breached its duty of good faith and fair

dealing by failing to defend and/or indemnify Webber, LLC in the Underlying Lawsuit.;

       4.      Render judgment that Mount Vernon violated its obligations under Texas

Insurance Code Chapter 542; and

       5.      Award Webber, LLC judgment against Defendant Mount Vernon on all claims

and for Webber LLC’s actual, consequential, incidental, attorney’s fees, litigation expenses,

costs of court, pre- and post-judgment interest, statutory damages and penalties including three

times Webber LLC’s actual damages and statutory interest at the rate of 18% per annum; and

that Webber LLC be granted such other and further relief, at law and in equity, both general and

special, to which Webber LLC is justly entitled.




                                                   Respectfully submitted,


                                             By:   /s/ Allison M. Lockhart
                                                   ALLISON M. LOCKHART
                                                   Texas Bar No. 24083407
                                                   ALockhart@MacondaldDevin.com
                                                   JENNIFER A. CHEEK (admission pending)
                                                   Texas Bar No. 24095098
                                                   JCheek@MacdonaldDevin.com
                                                   MACDONALD DEVIN ZIEGLER
                                                   MADDEN KENEFICK & HARRIS, P.C.
                                                   1201 Elm Street, Ste. 3800
                                                   Dallas, Texas 75270-2084
                                                   (214) 744-3300 Phone
                                                   (214) 747-0942 Facsimile

PLAINTIFF WEBBER LLC’S ORIGINAL COMPLAINT                                                     10
FOR DECLARATORY JUDGMENT
